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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)


                                      CERTIFICATE OF SERVICE

         I hereby certify that on the 27th day of February, 2024, I caused to be filed with the Court

electronically, and I caused to be served a true and correct copy of the Fifth Monthly Fee

Application of Brown Rudnick LLP, as Counsel for the Official Committee of Equity Security

Holders of Lordstown Motors Corp., et al., for Allowance of Interim Compensation and for

Reimbursement of Disbursements Incurred for the Period from January 1, 2024 through January

31, 2024 upon the parties that are registered to receive notice via the Court’s CM/ECF notification

system, and additional service was competed via electronic mail or first class mail on the parties

listed on the attached service list.

                                                               /s/ Eric J. Monzo
                                                               Eric J. Monzo (DE Bar No. 5214)




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.


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                                           Service List

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  Office of The United States Trustee



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